         Case 1:15-cv-13617-FDS Document 35 Filed 06/27/16 Page 1 of 3


                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS

____________________________________
                                     )                Civil Action No. 15-cv-13617-FDS
C.D., by and through her PARENTS AND )
NEXT FRIENDS, M.D. and P.D.          )
                                     )
                      Plaintiffs,    )
v.                                   )
                                     )
NATICK PUBLIC SCHOOL DISTRICT )
and                                  )
BUREAU OF SPECIAL EDUCATION          )
APPEALS,                             )
                                     )
                      Defendants.    )
____________________________________)


                  PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT


         NOW come the Plaintiffs, M.D. and P.D., individually and on behalf of C.D.

 (“Parents”) and pursuant to Rule 56 of the Federal Rules of Civil Procedure, hereby move for

 Summary Judgment in the above-referenced matter, and request that this Honorable Court

 allow Parents’ Motion and enter judgment on behalf of Parents.

       As grounds for this Motion, the Parents state that there are no genuine issues of material

facts in dispute and the Parents are entitled to judgment as a matter of law. As a result, the

Decision of the Bureau of Special Education Appeals (“BSEA”), dated July 24, 2015, Student v.

Natick Public Schools, BSEA Docket 1408860, should be reversed and this Court should find

that Parents’ are entitled to attorney fees. In support of their Motion for Summary Judgment,

Parents submit the accompanying Memorandum of Law.

         WHEREFORE, the Plaintiffs, M.D. and P.D., individually and on behalf of C.D,

 request that this Court allow Plaintiffs' Motion for Summary Judgment.
        Case 1:15-cv-13617-FDS Document 35 Filed 06/27/16 Page 2 of 3




DATED this 27th day of June 2016.


                                    Respectfully submitted,

                                    C.D., by and through her PARENTS AND
                                    NEXT FRIENDS, M.D. and P.D.

                                    By their attorney,

                                    /s/ Laurie R. Martucci
                                    Laurie R. Martucci, Esq.
                                    BBO # 561946
                                    Wagner Law Associates, LLC
                                    4 West Street
                                    Franklin, MA 02038
                                    (508) 528-4007
                                    lrm@wagnerlegal.com
         Case 1:15-cv-13617-FDS Document 35 Filed 06/27/16 Page 3 of 3



                                 CERTIFICATE OF SERVICE

        I hereby certify that the above document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (“NEF”),
and paper copies will be sent to those indicated as non-registered participants on June 24, 2016.



                                                        /s/ Laurie R. Martucci
                                                        Laurie R. Martucci
